                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: PRIMARY PROVIDERS OF            )
       ALABAMA, INC.,                  )                     Case No.: 18-83207-CRJ-11
                                       )
      EIN: xx-xxx9960                  )
                                       )
             Debtor.                   )                     CHAPTER 11
_______________________________________)

           DEBTOR’S RESPONSE TO SERVISFIRST BANK’S OBJECTION
       TO CONFIRMATION OF THE AMENDED PLAN OF REORGANIZATION

       COMES NOW Primary Providers of Alabama, Inc. (the “Debtor”) and responses to the
objection to confirmation filed by ServisFirst Bank (the “Bank”) as follows:

       The Absolute Priority Rule.

       1.      The Bank cannot invoke the Absolute Priority Rule to block confirmation of the
Debtor’s Plan as it is does not possess an unsecured claim in this case and thus lacks standing to
assert the Absolute Priority Rule.

       2.      The Debtor used its anticipated cash flow to propose feasible payments to
creditors in the Plan. The Debtor projected that it feasibly could satisfy ServisFirst’s secured
claims in full over the course of 10 years of payments. Thus, the proposed treatment in the Plan.

       3.      The Bankruptcy Code allows proponents of Plans to propose separate treatment
for various classes of secured and unsecured creditors without violating the propriety rules.

       4.      However, 11 U.S.C. § 1129(a)(9)(C) requires the Debtor to satisfy governmental
tax claims within five years of the Effective Date. Accordingly, the Debtor proposed paying the
tax claims on a faster time-table than it proposed repaying ServisFirst because of this statutory
constraint.

       5.      ServisFirst will be compensated for the time-value of its money through the
Plan’s allowance of interest on its secured claims.




Case 18-83207-CRJ11          Doc 201 Filed 07/29/19 Entered 07/29/19 15:06:04                   Desc
                               Main Document     Page 1 of 3
        Release of the Debtor’s Employees or Officers.

       6.      ServisFirst alleges that Section 9.2 of the Plan provides a general release of the
Debtor’s employees or officers for pre-Petition Date claims or torts.

       7.      This assertion is incorrect: Section 9.2 grants corporate officers, employees,
estate-employed professionals, and related persons a release only for actions or inactions taken in
good faith in connection with the bankruptcy case and administration of the Plan.

       8.      Section 9.2 is standard, form language that accompanies virtually every confirmed
Plan of Reorganization and merely grants such parties a defense similar to the common law
“business judgment rule” for actions taken in relation to the bankruptcy case.

       9.      Section 9.2 does not provide any general release of all liability to the Debtor’s
officers or employees.

       Plan’s Notice of Default Provision.

       10.     The Debtor avers that the 21-day notice of default provision contained in its Plan
is reasonable and necessary to protect the Debtor, its bankruptcy estate, and the property of the
bankruptcy estate.

       11.     Should the Debtor default on the terms of its Plan, any party-in-interest may
“proceed accordingly with any legal rights available under applicable law.” Doc. 170, Section
9.7, p. 20. This Section of the Plan gives creditors adequate remedies in the case of a default by
the Debtor.

       Ambiguities in the Debtor’s Plan.

       12.     While the Bank’s interpretation of some portions of the Plan is inconsistence with
a plain reading of the documents, the Debtor agrees to amend its Plan to make clear that secured
creditors’ liens will not be released on the Effective Date.

       13.     The Debtor will further correct any typographical errors concerning Bank’s
correct proof of claim docket numbers.

       WHEREFORE, premises considered, the Debtor respectively requests this Court enter an
Order: granting the Debtor leave to amend its Plan in accordance with this Pleading; overruling
ServisFirst Bank’s objection to confirmation of the Debtor’s Amended Plan of Reorganization;
and granting such relief as this Court deems just and proper.




Case 18-83207-CRJ11          Doc 201 Filed 07/29/19 Entered 07/29/19 15:06:04               Desc
                               Main Document     Page 2 of 3
       Respectfully submitted this the 29th day of July, 2019.


                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard III
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                                CERTIFICATE OF SERVICE

       This is to certify that I have this the 29th day of July, 2019 served the foregoing document
upon all addressees on the Clerk’s Mailing Matrix in this case, Richard M. Blythe, Office of the
Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35062 by electronic service through the
Court’s CM/ECF system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.



                                         /s/ Tazewell T. Shepard IV
                                         Tazewell T. Shepard IV




Case 18-83207-CRJ11         Doc 201 Filed 07/29/19 Entered 07/29/19 15:06:04                Desc
                              Main Document     Page 3 of 3
